24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 1 of 7
24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 2 of 7
24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 3 of 7
24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 4 of 7
24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 5 of 7
24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 6 of 7
24-05050-mmp Doc#1 Filed 08/09/24 Entered 08/09/24 13:09:12 Main Document Pg 7 of 7
